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                                                                    6
                                                                    7
                                                                    8                    IN THE UNITED STATES DISTRICT COURT
                                                                    9     FOR THE CENTRAL DISTRICT OF CALIFORNIA, SOUTHERN DIVISION
                                                               10
                                                                           PETUNIA PRODUCTS, INC.            Case No.
                                                               11
                   4000 MACARTHUR BOULEVARD, SUITE 600 EAST TOWER




                                                                           doing business as BILLION
                                                                           DOLLAR BROWS, a California        COMPLAINT FOR DAMAGES
                                                               12
                          NEWPORT BEACH, CALIFORNIA 92660




                                                                           corporation,
BERSTEIN LAW, PC




                                                               13                                              1. Federal Trademark Infringement
                                                                                     Plaintiff,
                                                               14                                                 in Violation of 15 U.S.C. § 1114
                                                                           v.                                  2. False Designation of
                                                               15
                                                                                                                  Origin/Federal Unfair
                                                               16          RODAN & FIELDS, LLC, a                 Competition Under 15 U.S.C. §
                                                               17          Delaware limited liability             1125(a)
                                                                           company; MOLLY SIMS, an             3. Federal Trademark Dilution in
                                                               18          individual; and DOES 1 through
                                                                           20,                                    Violation of 15 U.S.C. § 1125(c)(1)
                                                               19                                              4. Contributory Trademark
                                                               20                    Defendants.                  Infringement
                                                               21                                              5. Trademark Infringement in
                                                                                                                  Violation of Cal. Business &
                                                               22                                                 Professions Code §14200, et seq.
                                                               23                                              6. Trademark Dilution in Violation
                                                               24                                                 of Cal. Business & Professions
                                                                                                                  Code §14200, et seq.
                                                               25
                                                                                                               7. False Advertising in Violation of
                                                               26                                                 Cal. Business & Professions Code
                                                               27                                                 §17500, et seq.
                                                               28

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                                                                                                            COMPLAINT
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                                                                    1                                           8. Violation of California Business &
                                                                    2                                              Professions Code §§ 17200, et seq.

                                                                    3                                               -JURY TRIAL DEMANDED-
                                                                    4
                                                                    5
                                                                    6         Plaintiff PETUNIA PRODUCTS, INC. doing business as BILLION DOLLAR
                                                                    7 BROWS® hereby complains and alleges as follows:
                                                                    8                                       PARTIES
                                                                    9 1.      Plaintiff PETUNIA PRODUCTS, INC. (hereinafter “PPI” and/or “Plaintiff”), is a
                                                               10 California corporation with its principal place of business located within this judicial
                                                               11 district in Irvine, California. Plaintiff does business under the nationally-recognized
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                                                               12 BILLION DOLLAR BROWS® brand.
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                                                               13 2.          Defendant RODAN & FIELDS, LLC (hereinafter “RODAN & FIELDS”) is a
                                                               14 Delaware limited liability company with its headquarters located in San Francisco,
                                                               15 California.
                                                               16 3.          Defendant MOLLY SIMS (hereinafter “SIMS”) is an individual residing in this
                                                               17 judicial district.
                                                               18 4.          Defendants Does 1 through 20, whose identities and addresses are unknown to
                                                               19 Plaintiff PPI, are individuals and/or corporate entities that engaged in the unlawful
                                                               20 activities complained of herein. The Complaint will be amended, if appropriate, to
                                                               21 include the name or names of these individuals and/or corporate entities when such
                                                               22 information becomes available.
                                                               23 5.          Plaintiff PPI is informed and believes and thereon alleges that at all times
                                                               24 mentioned herein, each of the Defendants, including all Defendants sued under fictitious
                                                               25 names, and those agents, employees, and/or independent contractors identified herein,
                                                               26 were the agent and/or employee of each of the remaining Defendants, and in doing the
                                                               27 things hereinafter alleged, were acting within the course and scope of this agency or
                                                               28 employment.

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                                                                    1 6.      Defendant RODAN & FIELDS and Does 1 – 20 shall be collectively referred to in
                                                                    2 this Complaint as “Defendants” where applied.
                                                                    3                             JURISDICTION AND VENUE
                                                                    4 7.      This action arises from infringement of a Federally-Registered Trademark in
                                                                    5 violation of Section 32(1) of the Lanham Act (15 U.S.C. § 1114(1)); from unfair
                                                                    6 competition and false designation of origin or sponsorship in violation of Section 43(a)
                                                                    7 of the Lanham Act (15 U.S.C. § 1125(a)); from trademark infringement and dilution in
                                                                    8 violation of California Business and Professions Code § 14200; unfair competition and
                                                                    9 false advertising in violation of California Business and Professions Code §§ 17200, et
                                                               10 seq. and 17500, et seq.
                                                               11 8.
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                                                                              The Court possesses subject-matter jurisdiction over the federal trademark, unfair
                                                               12 competition, and false designation of origin or sponsorship claims in this action, pursuant
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                                                               13 to 15 U.S.C. § 1121 and 28 U.S.C. §§ 1331, 1338, and 1367.
                                                               14 9.          The Court possesses subject-matter jurisdiction over the California State Law
                                                               15 claims, pursuant to 28 U.S.C. §§ 1338 and 1367.
                                                               16 10.         The Court may exercise personal jurisdiction over Defendants because they reside,
                                                               17 have contacts with, and conduct substantial business within the State of California and
                                                               18 this judicial district. Defendants offer products which directly compete with Plaintiff
                                                               19 PPI’s products in this judicial district and unlawfully use Plaintiff PPI’s registered
                                                               20 trademark in related online advertising disseminated in this judicial district and
                                                               21 intentionally targeted to this judicial district, in order to offer competing cosmetic
                                                               22 products for sale in this judicial district, causing tortious injury to Plaintiff PPI within this
                                                               23 judicial district.
                                                               24 11.         Venue is proper in this District pursuant to 28 U.S.C. §§ 1391(b) and (c), as
                                                               25 Defendants transact affairs in this district, including by unlawfully offering to sell and
                                                               26 selling infringing products in this judicial district, in connection with Plaintiff PPI’s
                                                               27 trademark.
                                                               28 / / /

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                                                                                                             COMPLAINT
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                                                                    1                          GENERAL FACTUAL ALLEGATIONS
                                                                    2         A.     Plaintiff PPI’s Business and its BROW BOOST® Mark.
                                                                    3 12.     Plaintiff PPI is an international cosmetics company who, over the last 17 years,
                                                                    4 conducts business and manufactures, distributes, markets, offers for sale, and sells its
                                                                    5 cosmetic products under the Billion Dollar Brows® and Billion Dollar Beauty®
                                                                    6 trademarks.
                                                                    7 13.     Plaintiff PPI manufactures, distributes, markets, offers for sale, and sells its
                                                                    8 products throughout various national and international retail, television, print, social
                                                                    9 media, and e-commerce channels of trade including, without limitation, QVC, Amazon,
                                                               10 Kohl’s,          and   via   its   own    E-commerce       sites   located   at   the    domains
                                                               11 https://billiondollarbrows.com/ and https://billiondollarbeauty.com/.
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                                                               12 14.         Plaintiff PPI owns all right, title, and interest in the BROW BOOST® trademark
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                                                               13 which is the subject of U.S. Trademark Reg. No. 3100739 (Reg. Date June 6, 2006 in
                                                               14 Class 3) (“BROW BOOST TRADEMARK”). A true and correct copy of the BROW
                                                               15 BOOST TRADEMARK registration is incorporated by reference and attached as Exhibit
                                                               16 “A” to this Complaint.
                                                               17 15.         Plaintiff’s BROW BOOST TRADEMARK received incontestability status on or
                                                               18 about August 30, 2011 as evidenced in Exhibit “B” to this Complaint.
                                                               19 16.         As a result of the extensive, exclusive, and continued use of the BROW BOOST
                                                               20 TRADEMARK in connection with Billion Dollar Brows® brow primer and conditioner,
                                                               21 consumers have come to recognize and identify the BROW BOOST TRADEMARK as
                                                               22 representative of a high-quality brow primer and conditioner to be used to create a
                                                               23 foundation for consumers’ brow cosmetics.
                                                               24 17.         The BROW BOOST TRADEMARK has become a valuable asset of Plaintiff PPI
                                                               25 as well as a symbol of its goodwill and positive reputation.
                                                               26 18.         Plaintiff PPI brings this lawsuit to protect the substantial goodwill it has developed
                                                               27 in its distinctive BROW BOOST TRADEMARK.
                                                               28

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                                                                    1 19.     Defendants’ actions, alleged herein, have threatened to harm, harmed, and continue
                                                                    2 to harm and impair the goodwill and reputation for the high-quality BROW BOOST®
                                                                    3 brow primer and conditioner product Plaintiff PPI has worked hard to cultivate in an
                                                                    4 extremely competitive industry.
                                                                    5 20.     Defendants have used the BROW BOOST TRADEMARK and/or confusingly
                                                                    6 similar marks extensively in their marketing efforts and, in particular, on social media to
                                                                    7 offer a competing cosmetic skincare product to the same consumers served by Plaintiff
                                                                    8 PPI.
                                                                    9         B.    Defendants’ Business and Their Misconduct.
                                                               10 21.         Defendants are multi-level marketing company and manufacturer specializing in
                                                               11 skincare cosmetic products in competition with Plaintiff PPI.
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                                                               12 22.         Like Plaintiff PPI, Defendants manufacture, distribute, market, offer for sale, and
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                                                               13 sell their skincare cosmetic products throughout various national television, print, social
                                                               14 media, and e-commerce channels of trade and via its own E-commerce site located at the
                                                               15 domain https://www.rodanandfields.com/.
                                                               16 23.         In or about July 9, 2020, Defendants released for sale a product utilizing Plaintiff
                                                               17 PPI’s BROW BOOST TRADEMARK called “Brow Defining Boost” (“Defendants’
                                                               18 INFRINGING PRODUCT”).
                                                               19 24.         Defendants’ INFRINGING PRODUCT, which utilizes Plaintiff PPI’s BROW
                                                               20 BOOST TRADEMARK on its packaging and in Defendants’ marketing efforts, is
                                                               21 purported to be a “Tinted gel helps moisturize + condition for the appearance of fuller,
                                                               22 thicker eyebrows plus visibly volumizes with renewable fibers for a natural to bold look.”
                                                               23 25.         Actual and/or potential consumers are/were likely to be confused and/or actually
                                                               24 deceived by Defendants’ unauthorized exploitation of Plaintiff PPI’s BROW BOOST
                                                               25 TRADEMARK on Defendants’ product packaging and in connection with marketing of
                                                               26 the INFRINGING PRODUCT.
                                                               27 26.         On or about August 11, 2020, counsel for Plaintiff PPI directed correspondence to
                                                               28 Defendants demanding they cease and desist of the infringing use of Plaintiff PPI’s

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                                                                    1 BROW BOOST TRADEMARK on Defendants’ INFRINGING PRODUCT. Defendants
                                                                    2 have refused to cease and desist the infringing use of Plaintiff PPI’s BROW BOOST
                                                                    3 TRADEMARK on Defendants’ INFRINGING PRODUCT which continues to this day.
                                                                    4 27.   Even after their receipt of notice of their infringing use, Defendants’ continue to
                                                                    5 willfully exploit Plaintiff PPI’s BROW BOOST TRADEMARK on the packaging and in
                                                                    6 connection with the marketing efforts of the INFRINGING PRODUCT knowing such
                                                                    7 use is likely to, and has, caused confusion and was causing actual confusion with
                                                                    8 consumers in the relevant marketplace.
                                                                    9 28.   Moreover, as a result of Defendants’ misconduct, actual confusion occurred, and
                                                               10 continues to occur, about the association between Plaintiff PPI and its BROW BOOST®
                                                               11 product, on the one hand, and Defendants and its INFRINGING PRODUCT exploiting
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                                                               12 the BROW BOOST TRADEMARK, on the other hand. This confusion occurred because
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                                                               13 users who had searched the BROW BOOST TRADEMARK were looking for and
                                                               14 expected to find Plaintiff PPI’s website and/or information about Plaintiff PPI’s BROW
                                                               15 BOOST® product. Instead, such users were diverted to Defendants’ website and
                                                               16 INFRINGING PRODUCT.
                                                               17                           Defendants’ Keyword Marketing Efforts
                                                               18 29.       Defendants have infringed, and continue to infringe, upon Plaintiff PPI’s rights by
                                                               19 and through Defendants’ selective keyword advertising utilizing the BROW BOOST
                                                               20 TRADEMARK.
                                                               21 30.       AdWords is a service provided by Google through which advertisers purchase
                                                               22 terms (or keywords) that will trigger the display of their advertisements in Google search
                                                               23 results.
                                                               24 31.       When an advertiser bids on a keyword, and when an internet user enters that
                                                               25 keyword into the Google search engine, the keyword triggers the appearance of the
                                                               26 advertiser’s advertisement in the search results. Specifically, the Google search engine
                                                               27 presents an ordered list of relevant websites identified by the Google database with the
                                                               28 most relevant website listed first. The Google search engine also presents a separate list

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                                                                    1 of websites in a “sponsored links” section, either at the top or in the right margin of the
                                                                    2 search results screen.
                                                                    3 32.    When the user clicks on an advertisement, the user is taken to the advertiser’s
                                                                    4 website.
                                                                    5 33.    Advertisers pay Google based on the number of times internet users click on the
                                                                    6 advertiser’s advertisements.
                                                                    7 34.    Plaintiff PPI is informed and believes, and based thereon, alleges, Defendants have
                                                                    8 used Google’s AdWords services to bid on multiple keywords, spending thousands of
                                                                    9 dollars in their online marketing campaign.
                                                               10 35.        Plaintiff PPI is informed and believes, and based thereon, alleges, Defendants,
                                                               11 without Plaintiff PPI’s consent, bid on variations of Plaintiff PPI’s BROW BOOST
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                                                               12 TRADEMARK for use in Google AdWords.
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                                                               13 36.        When an internet user searches using Plaintiff PPI’s BROW BOOST
                                                               14 TRADEMARK, with the Google search engine, Defendants’ paid for advertisement, for
                                                               15 Defendants’ INFRINGING PRODUCT, utilizing the INFRINGING MARK, would, and
                                                               16 continues to, display in the Google search results.
                                                               17 37.        As a result of Defendants’ use of the INFRINGING MARK through Google
                                                               18 AdWords, internet users who searched for Plaintiff PPI were diverted to Defendants’
                                                               19 competitive website and INFRINGING PRODUCT.
                                                               20 38.        Moreover, as a result of Defendants’ misconduct, actual confusion occurred about
                                                               21 the relationship between Plaintiff PPI and its BROW BOOST® product, on the one hand,
                                                               22 and Defendants and their INFRINGING PRODUCT, on the other hand. This confusion
                                                               23 occurred because users who had searched Plaintiff PPI’s BROW BOOST TRADEMARK
                                                               24 were looking for and expected to find Plaintiff PPI’s website and/or information about
                                                               25 Plaintiff PPI’s BROW BOOST® product. Instead, such users were diverted to
                                                               26 Defendants’ website and INFRINGING PRODUCT.
                                                               27 39.        When a consumer commences a search through the Google Search Engine by
                                                               28 inputting the words “Brow Boost,” the consumer is first confronted with paid for

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                                                                    1 advertisements by Defendants for the INFRINGING PRODUCT. Further, consumer
                                                                    2 scrolling down the search results page will find the majority of search results are for links
                                                                    3 associated with the INFRINGING PRODUCT. In the very same search results, it is not
                                                                    4 until the consumer scrolls to the second page of the search results do consumers find
                                                                    5 Plaintiff PPI’s BROW BOOST® product.
                                                                    6 40.    Defendants’ infringement through the use of Google AdWords was not limited to
                                                                    7 use of the INFRINGING MARK. Plaintiff PPI is informed and believes, and based
                                                                    8 thereon, alleges Defendants engaged in a pattern and practice of bidding on related
                                                                    9 keywords directed at causing confusion between Plaintiff PPI’s BROW BOOST®
                                                               10 product and Defendants’ INFRINGING PRODUCT.
                                                               11
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                                                                                             Defendants’ Influencer Marketing Efforts
                                                               12 41.        Plaintiff PPI is informed and believes, and based thereon, alleges, Defendants, in
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                                                               13 addition to the keyword advertising misconduct, Defendants have been, and are,
                                                               14 combining such misconduct with Influencer blogging and social media marketing efforts.
                                                               15 42.        An “Influencer” is a person presumed to have the power to affect the purchase
                                                               16 decisions of others due to his/her reputation, authority, knowledge, and/or relationship
                                                               17 with his/her social media audience (followers); this status, modernly, is of significant
                                                               18 monetary value to corporations such as Defendant RODAN & FIELDS.
                                                               19 43.        Plaintiff PPI is informed and believes, and based thereon, alleges one such glaring
                                                               20 example of Defendants’ infringement utilizing an influencer is Defendants’ combination
                                                               21 of the Adword “Brow Boost” and “Molly Sims” in August 2020 about the time when
                                                               22 Defendants launched the INFRINGING PRODUCT in the United States.
                                                               23 44.        Plaintiff PPI is informed and believes, and based thereon, alleges Defendant SIMS
                                                               24 is a high profile fashion model known by many for her appearances in Sports Illustrated
                                                               25 and on the runway for Victoria’s Secret. Currently, Defendant SIMS is considered an
                                                               26 Instagram Influencer with over 587,000 followers and she also runs her own “Beauty
                                                               27 Everywhere” website (https://www.mollysims.com/) where she blogs and promotes
                                                               28

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                                                                    1 various products including cosmetic skincare products. Among the cosmetic skincare
                                                                    2 products Defendant SIMS promotes is Defendants’ INFRINGING PRODUCT.
                                                                    3 45.        On Defendant SIMS website1, Defendant SIMS “blogs” about and promotes the
                                                                    4 INFRINGING PRODUCT. Included in this posting is a direct link to RODAN &
                                                                    5 FIELDS website2 where the INFRINGING PRODUCT is promoted and available for
                                                                    6 purchase by consumers.
                                                                    7                 Defendants’ Consultants and Hashtag (#) Marketing Efforts
                                                                    8 46.        Plaintiff PPI is informed and believes, and based thereon, alleges Defendants have
                                                                    9 over 300,000 enrolled Consultants in the United States alone who are the primary source
                                                               10 of domestic sales for Defendants. Defendants do not sell their Defendants’ cosmetic
                                                               11 skincare products through retailers and, while they sell Defendants’ cosmetic skincare
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                                                               12 products through their website, those sales are only a small percentage of Defendants’
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                                                               13 overall sales.
                                                               14 47.            Plaintiff PPI is informed and believes, and based thereon, alleges becoming a
                                                               15 Consultant of Defendants is a multi-step process where an individual must first select an
                                                               16 existing Consultant as a sponsor, complete an Independent Consultant Application, and
                                                               17 Agreement, and purchase a $75 “Business Starter Pack” to start their RODAN & FIELDS
                                                               18 business. Applicants must also review and agree to the terms and conditions of the
                                                               19 Application and Defendants’ Policies and Procedures.
                                                               20 48.            Plaintiff PPI is informed and believes, and based thereon, alleges once the
                                                               21 Application is reviewed and accepted by Defendants, the individual becomes a
                                                               22 Consultant, who is purportedly an independent contractor of Defendants, and the
                                                               23 Application and the Policies and Procedures constitute the Consultant’s agreement with
                                                               24 Defendants.
                                                               25
                                                               26
                                                                        1
                                                                            https://www.mollysims.com/blog/2020/09/23/mollys-secret-to-defined-brows/
                                                               27
                                                                  2
                                                                    https://www.rodanandfields.com/pages/brow-defining-boost-
                                                               28 lp?utm_source=MollySims&utm_medium=pr-
                                                                  multi&utm_content=MollySimsBlog&utm_keyword=&utm_campaign=Brow_Boost
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                                                                    1 49.    Plaintiff PPI is informed and believes, and based thereon, alleges Defendants’
                                                                    2 Consultants can earn a profit every time they sell a product to a customer. The more of
                                                                    3 Defendants' cosmetic skincare products the Defendants’ Consultants sells at the
                                                                    4 suggested price points, the more the Defendants’ Consultants earn. Defendants’
                                                                    5 Consultants also earn commissions on sales by other Defendants’ Consultants or
                                                                    6 Preferred Customers they sponsor.
                                                                    7 50.    Plaintiff PPI is informed and believes, and based thereon, alleges some
                                                                    8 Defendants’ Consultants sell Defendants’ cosmetic skincare products full time, earning
                                                                    9 tens or hundreds of thousands of dollars each year while others sell Defendants’ cosmetic
                                                               10 skincare products part time as a hobby or to supplement their income.
                                                               11 51.
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                                                                             Plaintiff PPI is informed and believes, and based thereon, alleges Defendants’
                                                               12 Consultants also receive special, discounted pricing, which they may use to purchase their
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                                                               13 own cosmetic skincare products from Defendants, and they are invited to participate in
                                                               14 various, optional sponsored support, training, promotional, and incentive programs.
                                                               15 These programs provide additional sales support and training to Defendants’ Consultants
                                                               16 and give them an opportunity to earn trips and other rewards in celebration of their
                                                               17 achievements.
                                                               18 52.        Plaintiff PPI is informed and believes, and based thereon, alleges Defendants’
                                                               19 Consultants sell Defendants’ cosmetic skincare products through various channels of
                                                               20 trade. For example, they sell to friends and family, and to neighbors, co-workers, and
                                                               21 acquaintances, using personal relationships and networking while other host home parties
                                                               22 to sell Defendants’ cosmetic skincare products.
                                                               23 53.        Plaintiff PPI is informed and believes, and based thereon, alleges many
                                                               24 Defendants’ Consultants also have their own personal RODAN & FIELDS web portal,
                                                               25 which serves as public “storefronts” for customers to learn about and order Defendants’
                                                               26 cosmetics skincare products.
                                                               27 54.        Of particular importance in this matter is the marketing efforts by Defendants’
                                                               28 Consultants on social media, such as Facebook, Twitter, Instagram, and LinkedIn.

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                                                                    1 55.    Plaintiff PPI is informed and believes, and based thereon, alleges these social
                                                                    2 media websites have tens of thousands of postings by Defendants’ Consultants
                                                                    3 concerning, specifically, the INFRINGING PRODUCT.
                                                                    4 56.    What is most concerning and damaging to Plaintiff PPI is the utilization of the
                                                                    5 hashtag #BROWBOOST by Defendants’ Consultants to identify and/or direct attention
                                                                    6 to Defendants’ INFRINGING PRODUCT on social media.
                                                                    7 57.    Plaintiff PPI is informed and believes, and based thereon, alleges a hashtag is a
                                                                    8 metadata tag that is prefaced by the hash symbol, #. Hashtags are widely used on social
                                                                    9 media sites such as Facebook, Twitter, Instagram, and LinkedIn as a form of user-
                                                               10 generated tagging that enables cross-referencing of content sharing a subject or theme –
                                                               11 in this case, the subject is Defendants’ INFRINGING PRODUCT being marketed and
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                                                               12 sold by Defendants and Defendants’ Consultants.
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                                                               13 58.        Defendants’ Consultants have completely flooded social media with the
                                                               14 #BROWBOOST hashtag to the point Plaintiff PPI’s social media presence has been
                                                               15 diluted into non-existence.
                                                               16 59.        Plaintiff PPI is informed and believes, and based thereon, alleges Defendants’
                                                               17 Consultants causing this harm to Plaintiff utilizing social media include Level I
                                                               18 Consultants all the way up to Level V Consultants/Elite Consultants throughout the
                                                               19 United States including Eileen Pineiro Castro from Lithia Florida, Jolene Jashurek from
                                                               20 Freeport, Florida, Linda Sims from San Francisco, California, Megan Bancroft from
                                                               21 South Lyon, Michigan, and Tori Worthington Rose from Knoxville, Tennessee. The
                                                               22 aforementioned individuals are but a miniscule sample of Defendants’ 300,000+
                                                               23 Consultants in the 50 United States, the District of Columbia, and Guam.
                                                               24 60.        As a direct and proximate result of Defendants’ misconduct alleged hereinabove,
                                                               25 Plaintiff PPI has been substantially harmed.
                                                               26 / / /
                                                               27 / / /
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                                                                    1                               FIRST CAUSE OF ACTION
                                                                    2                     FEDERAL TRADEMARK INFRINGEMENT
                                                                    3                          IN VIOLATION OF 15 U.S.C. § 1114
                                                                    4                 BY PLAINTIFF PPI AGAINST ALL DEFENDANTS
                                                                    5 61.    Plaintiff PPI realleges each and every allegation set forth in Paragraphs 1 through
                                                                    6 60, inclusive, and incorporates them by reference herein.
                                                                    7 62.    As herein alleged, Defendants’ willful, deliberate, and unauthorized use of Plaintiff
                                                                    8 PPI’s registered and incontestable BROW BOOST TRADEMARK has caused confusion
                                                                    9 and is likely to continue to cause confusion, mistake, and deception in that consumers are
                                                               10 likely to associate and believe Defendants are associated with, connected to, affiliated
                                                               11 with, authorized by, endorsed by, licensed by, and/or sponsored by Plaintiff PPI, in
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                                                               12 violation of Section 32(b) of the Lanham Act, 15 U.S.C. § 1114(1).
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                                                               13 63.        As a direct and legal result of Defendants’ unauthorized use of Plaintiff PPI’s
                                                               14 BROW BOOST TRADEMARK, Defendants have damaged and will continue to damage
                                                               15 Plaintiff PPI’s goodwill and reputation, and have caused and are likely to continue to
                                                               16 cause a loss of profits for Plaintiff PPI.
                                                               17 64.        Defendants’ actions have caused and, unless restrained and enjoined by the Court,
                                                               18 will continue to cause irreparable harm to Plaintiff PPI and to the public, who is confused
                                                               19 by Defendants’ unauthorized use of Plaintiff PPI’s BROW BOOST TRADEMARK.
                                                               20 65.        Plaintiff PPI has no adequate remedy at law to prevent Defendants from continuing
                                                               21 their infringing actions and from injuring Plaintiff PPI.
                                                               22 66.        As a further direct and legal result of Defendants’ actions, Plaintiff PPI has been
                                                               23 damaged, and will continue to sustain damage, and is entitled to receive compensation
                                                               24 arising from its lost profits and efforts necessary to minimize and/or prevent customer
                                                               25 and consumer confusion, in an amount to be proven at the time of trial.
                                                               26 67.        In addition, Plaintiff PPI is entitled to disgorge Defendants’ profits, and is entitled
                                                               27 to interest and to its attorneys’ fees and costs in bringing this action, all in an amount to
                                                               28 be proven at the time of trial.

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                                                                                                              COMPLAINT
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                                                                    1 68.    Plaintiff PPI is further entitled to injunctive relief as set forth above, and to all other
                                                                    2 and further forms of relief this Court deems appropriate.
                                                                    3 69.    The damages sustained by Plaintiff PPI as a result of the conduct alleged herein
                                                                    4 should be trebled in accordance with 15 U.S.C. § 1117(b).
                                                                    5                              SECOND CAUSE OF ACTION
                                                                    6    FALSE DESIGNATION OF ORIGIN/FEDERAL UNFAIR COMPETITION
                                                                    7                                 UNDER 15 U.S.C. § 1125(a)
                                                                    8                 BY PLAINTIFF PPI AGAINST ALL DEFENDANTS
                                                                    9 70.    Plaintiff PPI realleges each and every allegation set forth in Paragraphs 1 through
                                                               10 69, inclusive, and incorporates them by reference herein.
                                                               11 71.
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                                                                             As herein alleged, Defendants’ unauthorized use of Plaintiff PPI’s BROW BOOST
                                                               12 TRADEMARK in connection with their purported offering for sale and selling of an
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                                                               13 exact or substantially similar cosmetic product constitutes unfair competition and false
                                                               14 designation of origin in violation of Section 43(a) of the Lanham Act, 15 U.S.C. §
                                                               15 1125(a), because Defendants’ exploitation suggests a false designation of the origin of
                                                               16 the goods that they are purporting to sell.
                                                               17 72.        As a direct and legal result Defendants’ unauthorized use of the BROW BOOST
                                                               18 TRADEMARK, Defendants have damaged and will continue to damage Plaintiff PPI and
                                                               19 Plaintiff PPI’s goodwill and reputation; and have caused and are likely to continue to
                                                               20 cause a loss of profits for Plaintiff PPI.
                                                               21 73.        Defendants’ actions have caused and will continue to cause irreparable harm to
                                                               22 Plaintiff PPI and to the public, who is confused by Defendants’ unauthorized use of
                                                               23 Plaintiff PPI’s BROW BOOST TRADEMARK, unless restrained and enjoined by this
                                                               24 Court.
                                                               25 74.        Plaintiff PPI has no adequate remedy at law to prevent Defendants from continuing
                                                               26 their infringing actions and from injuring Plaintiff PPI.
                                                               27 75.        As a further direct and legal result of Defendants’ actions, Plaintiff PPI has been
                                                               28 damaged and will continue to sustain damage and is entitled to receive compensation

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                                                                    1 arising from Plaintiff PPI’s lost profits and efforts necessary to minimize and/or prevent
                                                                    2 customer and consumer confusion, in an amount to be proven at the time of trial.
                                                                    3 76.    In addition, Plaintiff PPI is entitled to disgorge Defendants’ profits, and is entitled
                                                                    4 to interest and to its attorney’s fees and costs in bringing this action, all in an amount to
                                                                    5 be proven at the time of Trial.
                                                                    6 77.    Plaintiff PPI is further entitled to injunctive relief as set forth above, and to all other
                                                                    7 and further forms of relief this Court deems appropriate.
                                                                    8                                THIRD CAUSE OF ACTION
                                                                    9                          FEDERAL TRADEMARK DILUTION
                                                               10                            IN VIOLATION OF 15 U.S.C. § 1125(c)(1)
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                                                                                      BY PLAINTIFF PPI AGAINST ALL DEFENDANTS
                                                               12 78.        Plaintiff PPI realleges each and every allegation set forth in Paragraphs 1 through
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                                                               13 77, inclusive, and incorporates them by reference herein.
                                                               14 79.        Plaintiff PPI is informed and believes and thereon alleges that, notwithstanding
                                                               15 Defendants’ knowledge of Plaintiff’s federal registration and common law rights in the
                                                               16 BROW BOOST TRADEMARK, Defendants have commercially used, exploited
                                                               17 reproduced, copied, or colorably imitated the BROW BOOST TRADEMARK, in
                                                               18 connection with the sale, offering for sale, distribution and/or advertising of exact or
                                                               19 substantially similar cosmetic product in a manner which has caused and will likely
                                                               20 continue to cause confusion, mistake, or deception among the purchasing public as to the
                                                               21 source of the Defendants’ INFRINGING PRODUCT. Not only have Defendants used
                                                               22 the identical mark in commerce, but they have also used it for the identical or substantially
                                                               23 identical product. Defendants’ conduct in this regard is likely to dilute the distinctive
                                                               24 qualities of Plaintiff PPI’s BROW BOOST TRADEMARK by lessening the capacity of
                                                               25 such a trademark to identify and distinguish Plaintiff PPI’s product in the marketplace,
                                                               26 and has resulted in an actual present injury to Plaintiff PPI and its BROW BOOST
                                                               27 TRADEMARK, in violation of Section 43(c) of the Lanham Act, 15 U.S.C. 1125(c).
                                                               28 80.        As a direct and legal result of Defendants’ unauthorized use of Plaintiff PPI’s

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                                                                    1 BROW BOOST TRADEMARK, Defendants have damaged and will continue to damage
                                                                    2 Plaintiff PPI’s goodwill and reputation, and have caused and are likely to continue to
                                                                    3 cause a loss of profits for Plaintiff PPI.
                                                                    4 81.    Defendants’ actions have caused and, unless restrained and enjoined by this Court,
                                                                    5 will continue to cause irreparable harm to Plaintiff PPI and to the public, who is confused
                                                                    6 by Defendants’ unauthorized use of Plaintiff PPI’s BROW BOOST TRADEMARK.
                                                                    7 Plaintiff PPI has no adequate remedy at law to prevent Defendants from continuing their
                                                                    8 infringing actions and from injuring Plaintiff.
                                                                    9 82.    As a further direct and legal result of Defendants’ actions, Plaintiff PPI has been
                                                               10 damaged and will continue to sustain damage and is entitled to receive compensation
                                                               11 arising from its lost profits and efforts necessary to minimize and/or prevent consumer
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                                                               12 confusion, in an amount to be proven at the time of Trial.
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                                                               13 83.        In addition, Plaintiff PPI is entitled to disgorge Defendants’ profits, and is entitled
                                                               14 to interest and to its attorneys’ fees and costs in bringing this action, all in an amount to
                                                               15 be proven at the time of Trial.
                                                               16 84.        Plaintiff is further entitled to injunctive relief as set forth above, and to all other
                                                               17 and further forms of relief this Court deems appropriate.
                                                               18 85.        The damages sustained by Plaintiff PPI as a result of the conduct alleged herein
                                                               19 should be trebled in accordance with 15 U.S.C. § 1117(b).
                                                               20                                  FOURTH CAUSE OF ACTION
                                                               21                     CONTRIBUTORY TRADEMARK INFRINGEMENT
                                                               22                      BY PLAINTIFF PPI AGAINST ALL DEFENDANTS
                                                               23 86.        Plaintiff PPI realleges each and every allegation set forth in Paragraphs 1 through
                                                               24 85, inclusive, and incorporates them by reference herein.
                                                               25 87.        Plaintiff PPI is the owner and registrant of the BROW BOOST TRADEMARK.
                                                               26 88.        Defendants have provided or caused to be provided to co-Defendant SIMS the
                                                               27 INFRINGING PRODUCT with knowledge, expectation, and/or intention Defendant
                                                               28 SIMS would use the INFRINGING PRODUCT in connection with the marketing,

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                                                                    1 offering for sale, and sale of the INFRINGING PRODUCT.
                                                                    2 89.   Defendants, including Defendant SIMS have not been granted any right to use
                                                                    3 Plaintiff PPI’s BROW BOOST TRADEMARK in the United States or elsewhere.
                                                                    4 90.   Defendants SIMS’ unauthorized use and exploitation of the INFRINGING
                                                                    5 PRODUCT bearing Plaintiff PPI’s BROW BOOST TRADEMARK supplied by
                                                                    6 Defendants have caused and/or are likely to cause confusion or mistake, or to deceive
                                                                    7 consumers regarding the source, sponsorship, and/or affiliation of the INFRINGING
                                                                    8 PRODUCT.
                                                                    9 91.   Defendants have intentionally induced or contributed to or knowingly participated
                                                               10 in the infringement of Plaintiff PPI’s BROW BOOST TRADEMARK by Defendants’
                                                               11 Consultants and influencers such as Defendant SIMS.
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                                                               12 92.       Defendants have acted willfully and deliberately and have profited from the
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                                                               13 infringement of Plaintiff PPI’s BROW BOOST TRADEMARK.
                                                               14 93.       As a direct and legal result of Defendants’ unauthorized use of Plaintiff PPI’s
                                                               15 BROW BOOST TRADEMARK, Defendants have damaged and will continue to damage
                                                               16 Plaintiff PPI’s goodwill and reputation, and have caused and are likely to continue to
                                                               17 cause a loss of profits for Plaintiff PPI.
                                                               18 94.       Defendants’ actions have caused and, unless restrained and enjoined by this Court,
                                                               19 will continue to cause irreparable harm to Plaintiff PPI and to the public, who is confused
                                                               20 by Defendants’ unauthorized use of Plaintiff PPI’s BROW BOOST TRADEMARK.
                                                               21 Plaintiff PPI has no adequate remedy at law to prevent Defendants from continuing their
                                                               22 infringing actions and from injuring Plaintiff.
                                                               23 95.       As a further direct and legal result of Defendants’ actions, Plaintiff PPI has been
                                                               24 damaged and will continue to sustain damage and is entitled to receive compensation
                                                               25 arising from its lost profits and efforts necessary to minimize and/or prevent consumer
                                                               26 confusion, in an amount to be proven at the time of Trial.
                                                               27 96.       In addition, Plaintiff PPI is entitled to disgorge Defendants’ profits, and is entitled
                                                               28 to interest and to its attorneys’ fees and costs in bringing this action, all in an amount to

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                                                                    1 be proven at the time of Trial.
                                                                    2 97.    Plaintiff is further entitled to injunctive relief as set forth above, and to all other
                                                                    3 and further forms of relief this Court deems appropriate.
                                                                    4 98.    The damages sustained by Plaintiff PPI as a result of the conduct alleged herein
                                                                    5 should be trebled in accordance with 15 U.S.C. § 1117(b).
                                                                    6                               FIFTH CAUSE OF ACTION
                                                                    7                TRADEMARK INFRINGEMENT IN VIOLATION OF
                                                                    8       CALIFORNIA BUSINESS & PROFESSIONS CODE §§ 14200, ET SEQ.
                                                                    9                 BY PLAINTIFF PPI AGAINST ALL DEFENDANTS
                                                               10 99.        Plaintiff PPI realleges each and every allegation set forth in Paragraphs 1 through
                                                               11 98, inclusive, and incorporates them by reference herein.
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                                                               12 100. As herein alleged, Defendants’ willful, deliberate, and unauthorized use of the PPI
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                                                               13 TRADEMARKS has caused confusion and is likely to continue to cause confusion,
                                                               14 mistake, and deception in that consumers are likely to associate and believe Defendants
                                                               15 are associated with, connected to, affiliated with, authorized by, endorsed by, licensed
                                                               16 by, and/or sponsored by Plaintiff PPI, in violation of California Business & Professions
                                                               17 Code § 14245(a)(1).
                                                               18 101. As a direct and legal result of Defendants’ unauthorized use of Plaintiff PPI’s
                                                               19 BROW BOOST TRADEMARK, Defendants have damaged and will continue to damage
                                                               20 Plaintiff’s goodwill and reputation, and have caused and are likely to continue to cause a
                                                               21 loss of profits for Plaintiff.
                                                               22 102. Defendants’ actions have caused and, unless restrained and enjoined by the Court,
                                                               23 will continue to cause irreparable harm to Plaintiff and to the public, who is confused by
                                                               24 Defendants’ unauthorized use of Plaintiff PPI’s BROW BOOST TRADEMARK.
                                                               25 Plaintiff has no adequate remedy at law to prevent Defendants from continuing their
                                                               26 infringing actions and from injuring Plaintiff.
                                                               27 103. As a further direct and legal result of Defendants’ actions, Plaintiff has been
                                                               28 damaged and will continue to sustain damage and is entitled to receive compensation

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                                                                    1 arising from its lost profits and efforts necessary to minimize and/or prevent customer
                                                                    2 and consumer confusion, in an amount to be proven at the time of Trial.
                                                                    3 104. In addition, Plaintiff is entitled to disgorge Defendants’ profits, and is entitled to
                                                                    4 interest and to its attorneys’ fees and costs in bringing this action, all in an amount to be
                                                                    5 proven at the time of Trial.
                                                                    6 105. Plaintiff is further entitled to punitive damages, injunctive relief, destruction of all
                                                                    7 materials bearing Plaintiff PPI’s BROW BOOST TRADEMARK, and/or recall the goods
                                                                    8 bearing the Plaintiff PPI’s BROW BOOST TRADEMARK, and to all other and further
                                                                    9 forms of relief this Court deems appropriate.
                                                               10                                    SIXTH CAUSE OF ACTION
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                                                                                         TRADEMARK DILUTION IN VIOLATION OF
                                                               12           CALIFORNIA BUSINESS & PROFESSIONS CODE §§ 14200, ET SEQ.
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                                                               13                     BY PLAINTIFF PPI AGAINST ALL DEFENDANTS
                                                               14 106. Plaintiff PPI realleges each and every allegation set forth in Paragraphs 1 through
                                                               15 105, inclusive, and incorporates them by reference herein.
                                                               16 107. Plaintiff PPI is informed and believes and thereon alleges that, notwithstanding
                                                               17 Defendants’ knowledge of Plaintiff’s federal registration, and common law rights in the
                                                               18 BROW BOOST TRADEMARK, Defendants have commercially used, reproduced,
                                                               19 copied, or colorably imitated Plaintiff PPI’s BROW BOOST TRADEMARK, in
                                                               20 connection with the exploitation, sale, offering for sale, distribution and/or advertising of
                                                               21 identical and/or similar cosmetic products in a manner which has caused and will likely
                                                               22 continue to cause confusion, mistake, or deception among the purchasing public as to the
                                                               23 source of the cosmetic products. Specifically, Defendants have used Plaintiff PPI’s
                                                               24 BROW BOOST TRADEMARK in commerce to offer for sale and sell of the
                                                               25 INFRINGING PRODUCT.
                                                               26 108. Not only have Defendants used the identical mark in commerce, but they have also
                                                               27 used it for the identical or substantially similar cosmetic products. Defendants’ conduct
                                                               28 in this regard is likely to dilute the distinctive qualities of Plaintiff PPI’s BROW BOOST

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                                                                    1 TRADEMARK by lessening the capacity of such mark to identify and distinguish
                                                                    2 Plaintiff PPI’s cosmetic products in the marketplace, and has resulted in an actual present
                                                                    3 injury to Plaintiff PPI’s BROW BOOST TRADEMARK, in violation of California
                                                                    4 Business & Professions Code §§ 14200, et seq.
                                                                    5 109. As a direct and legal result of Defendants’ unauthorized use of Plaintiff PPI’s
                                                                    6 BROW BOOST TRADEMARK, Defendants have damaged and will continue to damage
                                                                    7 Plaintiff PPI’s goodwill and reputation, and have caused and are likely to continue to
                                                                    8 cause a loss of profits for Plaintiff PPI.
                                                                    9 110. Defendants’ actions have caused and, unless restrained and enjoined by this Court,
                                                               10 will continue to cause irreparable harm to Plaintiff PPI and to the public, who is confused
                                                               11 by Defendants’ unauthorized use of Plaintiff’s PPI TRADEMARKS. Plaintiff PPI has
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                                                               12 no adequate remedy at law to prevent Defendants from continuing their infringing actions
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                                                               13 and from injuring Plaintiff.
                                                               14 111. As a further direct and legal result of Defendants’ actions, Plaintiff PPI has been
                                                               15 damaged and will continue to sustain damage and is entitled to injunctive relief in
                                                               16 accordance with California Business & Professions Code § 14250, and to all other and
                                                               17 further forms of relief this Court deems appropriate.
                                                               18                                 SEVENTH CAUSE OF ACTION
                                                               19                          FALSE ADVERTISING IN VIOLATION OF
                                                               20           CALIFORNIA BUSINESS & PROFESSIONS CODE §§ 17500, ET SEQ.
                                                               21                      BY PLAINTIFF PPI AGAINST ALL DEFENDANTS
                                                               22 112. Plaintiff PPI realleges each and every allegation set forth in Paragraphs 1 through
                                                               23 111, inclusive, and incorporates them by reference herein.
                                                               24 113. The actions of Defendants herein alleged are unfair and unlawful, and also violate
                                                               25 California Business and Professions Code §§ 17500, et seq.
                                                               26 114. As a result of the Defendants’ false and misleading advertising, potential and actual
                                                               27 consumers have been, and will continue to be, misled about the source and legitimacy of
                                                               28 the INFRINGING PRODUCT being wrongfully exploited, marketed, advertised, and

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                                                                    1 sold by Defendants bearing Plaintiff PPI’s BROW BOOST TRADEMARK.
                                                                    2 115. Defendants knew the advertising was untrue and misleading and willfully
                                                                    3 continued to advertise and sell the INFRINGING PRODUCT to consumers.
                                                                    4 116. As a result of the above-described conduct, Defendants have been, and will
                                                                    5 continue to be, unjustly enriched in profits, income, and ill-gotten gains at the expense of
                                                                    6 Plaintiff PPI and consumers in California and the United States.
                                                                    7 117. As a further result of the above-described conduct, Plaintiff PPI has been, and will
                                                                    8 continue to be, unjustly deprived of the full value of the goodwill associated with Plaintiff
                                                                    9 PPI’s BROW BOOST TRADEMARK.
                                                               10 118. The wrongful acts of Defendants, as alleged herein, unless restrained and enjoined
                                                               11 by order of this Court, will cause great and irreparable injury to the general public and to
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                                                               12 Plaintiff PPI, its business, its reputation, and its goodwill.
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                                                               13 119. Plaintiff PPI has no adequate remedy at law for the injuries that have been or will
                                                               14 continue to be sustained in this action.
                                                               15                                  EIGHTH CAUSE OF ACTION
                                                               16                                 VIOLATION OF CALIFORNIA
                                                               17                    BUSINESS & PROFESSIONS CODE §§ 17200, ET SEQ.
                                                               18                     BY PLAINTIFF PPI AGAINST ALL DEFENDANTS
                                                               19 120. Plaintiff PPI realleges each and every allegation set forth in Paragraphs 1 through
                                                               20 119, inclusive, and incorporates them by reference herein.
                                                               21 121. Defendants as alleged herein have committed acts of unfair competition, as defined
                                                               22 by California Business and Professions Code §§ 17200, et seq.
                                                               23 122. The acts and business practices described herein constituted and constitute a
                                                               24 common course of unfair competition by means of unfair, unlawful, and/or fraudulent
                                                               25 business acts or practices within the meaning of the Unfair Competition Laws (“UCL”),
                                                               26 as well as the common law of the State of California, including, but in no way limited to,
                                                               27 the following:
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                                                                    1        Unlawful:    Defendants’ acts and business practices as described above are
                                                                    2 unlawful and fraudulent on numerous grounds including, but not limited to, they
                                                                    3 constitute: the infringement of Plaintiff PPI’s trademark rights.
                                                                    4        Unfair:      Defendants’ acts and business practices as described above are unfair
                                                                    5 since they violate California’s public policy against unjustly enriching one party at the
                                                                    6 expense of another. Plaintiff PPI’s injuries resulting from the above-described conduct,
                                                                    7 in particular the use and exploitation of Plaintiff PPI’s BROW BOOST TRADEMARK
                                                                    8 to steal consumers is substantial; the injury is not outweighed by any offsetting consumer
                                                                    9 or competitive benefits of that practice. As set forth above, even if the conduct were not
                                                               10 specifically unlawful, it violates the spirit or policy of the law as it has been established
                                                               11 by statute, common law, and industry practice or otherwise.
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                                                               12 123. Plaintiff PPI is entitled to restitution of any monies obtained by Defendants as a
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                                                               13 direct and legal result of the violations of the UCL and common law.
                                                               14 124. The wrongful acts of Defendants as alleged herein, unless restrained and enjoined
                                                               15 by order of this Court, will cause great and irreparable injury to the general public and to
                                                               16 Plaintiff PPI.
                                                               17 125. Plaintiff PPI has no adequate remedy at law for the injuries that have been or will
                                                               18 continue to be sustained.
                                                               19 126. Plaintiff PPI has incurred, and will continue to incur, litigation expenses, as well
                                                               20 as court costs, as a direct, proximate, and legal result of Defendants’ wrongful conduct.
                                                               21                                     PRAYER FOR RELIEF
                                                               22            WHEREFORE, Plaintiff PPI prays that this Court enter judgment in its favor and
                                                               23 against Defendants as follows:
                                                               24         ON THE FIRST, SECOND, THIRD, AND FOURTH CAUSES OF ACTION
                                                               25                                    (Trademark Infringement)
                                                               26 1.         That it be found Plaintiff PPI’s BROW BOOST TRADEMARK has been infringed
                                                               27 by Defendants’ acts under 15 U.S.C. §§ 1114 and 1125;
                                                               28 2.         That it be found that Defendants, and each of them, have unfairly competed with

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                                                                    1 Plaintiff in violation of 15 U.S.C. § 1125 and California Business and Professions Code
                                                                    2 §§ 17200, et seq.;
                                                                    3 3.      That it be found that Plaintiff PPI is entitled to recover damages from Defendants,
                                                                    4 and each of them, for their acts of federal trademark infringement, dilution, and unfair
                                                                    5 competition, and these damages be trebled under 15 U.S.C. § 1117(b) because
                                                                    6 Defendants’ acts have been willful, and Plaintiff PPI be awarded its reasonable attorneys’
                                                                    7 fees;
                                                                    8 4.      That it be found Plaintiff PPI is entitled to recover damages from Defendants, and
                                                                    9 each of them, for Defendants’ acts of unfair competition and unjust enrichment, and
                                                               10 Plaintiff PPI further recover punitive damages because Defendants’ acts have been
                                                               11 willful, fraudulent, oppressive, and/or malicious;
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                                                               12 5.          That Defendants, and each of them, their officers, shareholders, directors, agents,
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                                                               13 servants, employees, attorneys, parent companies, confederates, and all persons in active
                                                               14 concert or participation with them now and in the future, be enjoined from:
                                                               15             a.    Using any combination, reproduction, counterfeit, copy, or colorable
                                                               16                   imitation of the BROW BOOST TRADEMARK in connection with the
                                                               17                   advertising, distribution, offering for sale, or sale of cosmetics products, the
                                                               18                   same or similar to those offered by Plaintiff PPI, or likely to be confused
                                                               19                   with those of Plaintiff PPI, or likely to injure Plaintiff PPI’s business,
                                                               20                   reputation, or the reputation of the BROW BOOST TRADEMARK;
                                                               21             b.    Using any combination, reproduction, counterfeit, copy or colorable
                                                               22                   imitation of the BROW BOOST TRADEMARK in any manner likely to
                                                               23                   cause confusion, to cause mistake, or to deceive the public;
                                                               24             c.    Selling, offering to sell, advertising, promoting, or passing off, inducing, or
                                                               25                   enabling others to sell, offer to sell, advertise, promote, or pass off any
                                                               26                   cosmetic products similar to those provided by Plaintiff PPI under a name
                                                               27                   or mark the same as or similar to Plaintiff PPI’s BROW BOOST
                                                               28                   TRADEMARK;

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                                                                    1       d.    Committing any acts calculated to cause customers or consumers to believe
                                                                    2             that Defendants’ products are approved, licensed, sponsored by, or endorsed
                                                                    3             by Plaintiff PPI; and
                                                                    4       e.    Otherwise competing unfairly with Plaintiff PPI in any manner, including,
                                                                    5             but not limited to, infringing usage of Plaintiff PPI’s BROW BOOST
                                                                    6             TRADEMARK, or any confusingly similar marks.
                                                                    7 6.    That Defendants, and each of them, be required to deliver up to Plaintiff PPI for
                                                                    8 destruction, any and all materials which infringe Plaintiff PPI’s BROW BOOST
                                                                    9 TRADEMARK in Defendants’ possession and/or under their control;
                                                               10 7.        That Defendants be required to deliver up to Plaintiff PPI for destruction, any and
                                                               11 all catalogs, circulars, and other printed material in Defendants’ possession and/or under
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                                                               12 their control displaying or exploiting Plaintiff PPI’s BROW BOOST TRADEMARK;
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                                                               13 8.        That Defendants be ordered pursuant to 15 U.S.C. § 1116(a) to file, with the Court
                                                               14 and serve upon Plaintiff PPI, within thirty (30) days of the entry of injunction prayed for
                                                               15 herein, a written report, under oath or affirmed under penalty of perjury, setting forth in
                                                               16 detail the form and manner in which it has complied with the ordered permanent
                                                               17 injunction; and
                                                               18 9.        Such other and further relief at law or in equity, to which the Court deems just and
                                                               19 proper.
                                                               20                            ON THE FIFTH CAUSE OF ACTION
                                                               21                           (Trademark Infringement in Violation of
                                                               22                      California Business and Professions Code § 14200)
                                                               23 10.       That it be found Plaintiff’s PPI TRADEMARKS have been infringed by
                                                               24 Defendants’ acts under California Business & Professions Code § 14200, et seq.;
                                                               25 11.       That it be found Plaintiff PPI is entitled to recover damages from Defendants, and
                                                               26 each of them, for their acts of trademark infringement in violation of California Business
                                                               27 & Professions Code §§ 14200, et seq.;
                                                               28 12.       That it be found Plaintiff PPI is entitled to recover damages from Defendants, and

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                                                                    1 each of them, for Defendants’ acts of unfair competition and unjust enrichment, and that
                                                                    2 Plaintiff PPI further recover punitive damages under California law because Defendants’
                                                                    3 acts have been willful, fraudulent, oppressive, and/or malicious;
                                                                    4 13.    That Defendants, and each of them, their officers, shareholders, directors, agents,
                                                                    5 servants, employees, attorneys, parent companies, confederates, and all persons in active
                                                                    6 concert or participation with them now and in the future, be enjoined from:
                                                                    7        a.    Using any combination, reproduction, counterfeit, copy, or colorable
                                                                    8              imitation of Plaintiff PPI’s BROW BOOST TRADEMARK in connection
                                                                    9              with the advertising, distribution, offering for sale, or sale of cosmetic
                                                               10                  products, the same or similar to those offered by Plaintiff PPI, or likely to
                                                               11
                   4000 MACARTHUR BOULEVARD, SUITE 600 EAST TOWER




                                                                                   be confused with those of Plaintiff PPI, or likely to injure Plaintiff’s
                                                               12                  business, reputation or the reputation of Plaintiff PPI’s BROW BOOST
                          NEWPORT BEACH, CALIFORNIA 92660
BERSTEIN LAW, PC




                                                               13                  TRADEMARK;
                                                               14            b.    Using any combination, reproduction, counterfeit, copy or colorable
                                                               15                  imitation of Plaintiff PPI’s BROW BOOST TRADEMARK in any manner
                                                               16                  likely to cause confusion, to cause mistake, or to deceive the public;
                                                               17            c.    Selling, offering to sell, advertising, promoting, or passing off, inducing, or
                                                               18                  enabling others to sell, offer to sell, advertise, promote, or pass off any
                                                               19                  cosmetic products similar to those provided by Plaintiff under a name or
                                                               20                  mark the same as or similar to Plaintiff PPI’s BROW BOOST
                                                               21                  TRADEMARK;
                                                               22            d.    Committing any acts calculated to cause customers or consumers to believe
                                                               23                  that Defendants’ products are approved, licensed, sponsored by, or endorsed
                                                               24                  by Plaintiff PPI; and
                                                               25            e.    Otherwise competing unfairly with Plaintiff PPI in any manner, including,
                                                               26                  but not limited to, infringing usage of Plaintiff PPI’s BROW BOOST
                                                               27                  TRADEMARK, or any confusingly similar marks.
                                                               28 14.        That Defendants, and each of them, be required to deliver up to Plaintiff PPI for

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                                                                    1 destruction, any and all materials which infringe Plaintiff PPI’s BROW BOOST
                                                                    2 TRADEMARK in Defendants’ possession and/or under their control;
                                                                    3 15.    That Defendants be required to deliver up to Plaintiff PPI for destruction, any and
                                                                    4 all catalogs, circulars, and other printed material in Defendants’ possession and/or under
                                                                    5 its control displaying or exploiting Plaintiff PPI’s BROW BOOST TRADEMARK;
                                                                    6 16.    That Defendants be required to supply Plaintiff PPI with a complete list of entities
                                                                    7 or individuals to whom they have offered for sale cosmetic products bearing Plaintiff
                                                                    8 PPI’s BROW BOOST TRADEMARK, or any confusingly similar marks, and be required
                                                                    9 to contact such entities, inform them that such goods are no longer for sale and may no
                                                               10 longer be offered for sale, and providing them with the means of blacking-out the
                                                               11 offerings of such goods in their advertising materials;
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                                                               12 17.        Such other and further relief at law or in equity, to which the Court deems just and
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                                                               13 proper.
                                                               14                             ON THE SIXTH CAUSE OF ACTION
                                                               15                               (Trademark Dilution in Violation of
                                                               16                       California Business and Professions Code § 14200)
                                                               17 18.        That it be found that Plaintiff PPI’s BROW BOOST TRADEMARK have been
                                                               18 infringed by Defendants’ acts under California Business & Professions Code §§ 14200,
                                                               19 et seq.;
                                                               20 19.        That it be found Plaintiff PPI is entitled to recover damages from Defendants, and
                                                               21 each of them, for their acts of trademark infringement in violation of California Business
                                                               22 & Professions Code §§ 14200, et seq.;
                                                               23 20.        That it be found Plaintiff PPI is entitled to recover damages from Defendants, and
                                                               24 each of them, for Defendants’ acts of unfair competition and unjust enrichment, and that
                                                               25 Plaintiff PPI further recover punitive damages under California law because Defendants’
                                                               26 acts have been willful, fraudulent, oppressive, and/or malicious;
                                                               27 21.        That Defendants, and each of them, their officers, shareholders, directors, agents,
                                                               28 servants, employees, attorneys, parent companies, confederates, and all persons in active

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                                                                    1 concert or participation with them now and in the future, be enjoined from:
                                                                    2        a.    Using any combination, reproduction, counterfeit, copy, or colorable
                                                                    3              imitation of Plaintiff PPI’s BROW BOOST TRADEMARK in connection
                                                                    4              with the advertising, distribution, offering for sale, or sale of cosmetic
                                                                    5              products, the same or similar to those offered by Plaintiff PPI, or likely to
                                                                    6              be confused with those of Plaintiff PPI, or likely to injure Plaintiff’s
                                                                    7              business, reputation, or the reputation of Plaintiff PPI’s BROW BOOST
                                                                    8              TRADEMARK;
                                                                    9        b.    Using any combination, reproduction, counterfeit, copy or colorable
                                                               10                  imitation of Plaintiff PPI’s BROW BOOST TRADEMARK in any manner
                                                               11
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                                                                                   likely to cause confusion, to cause mistake, or to deceive the public;
                                                               12            c.    Selling, offering to sell, advertising, promoting, or passing off, inducing, or
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                                                               13                  enabling others to sell, offer to sell, advertise, promote, or pass off any
                                                               14                  cosmetic products similar to those provided by Plaintiff PPI under a name
                                                               15                  or mark the same as or similar to Plaintiff PPI’s BROW BOOST
                                                               16                  TRADEMARK;
                                                               17            d.    Committing any acts calculated to cause customers or consumers to believe
                                                               18                  that Defendants’ products are approved, licensed, sponsored by, or endorsed
                                                               19                  by Plaintiff PPI; and
                                                               20            e.    Otherwise competing unfairly with Plaintiff PPI in any manner, including,
                                                               21                  but not limited to, infringing usage of Plaintiff PPI’s BROW BOOST
                                                               22                  TRADEMARK, or any confusingly similar marks.
                                                               23 22.        That Defendants, and each of them, be required to deliver up to Plaintiff PPI for
                                                               24 destruction, any and all materials which infringe Plaintiff PPI’s BROW BOOST
                                                               25 TRADEMARK in Defendants’ possession and/or under their control;
                                                               26 23.        That Defendants be required to deliver up to Plaintiff PPI for destruction, any and
                                                               27 all catalogs, circulars, and other printed material in Defendants’ possession and/or under
                                                               28 its control displaying or exploiting Plaintiff PPI’s BROW BOOST TRADEMARK;

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                                                                    1 24.    That Defendants be required to supply Plaintiff PPI with a complete list of entities
                                                                    2 or individuals to whom they have offered for sale cosmetic products bearing Plaintiff
                                                                    3 PPI’s BROW BOOST TRADEMARK, or any confusingly similar marks, and be required
                                                                    4 to contact such entities, inform them that such goods are no longer for sale and may no
                                                                    5 longer be offered for sale, and providing them with the means of blacking-out the
                                                                    6 offerings of such goods in their advertising materials;
                                                                    7 25.    Such other and further relief at law or in equity, to which the Court deems just and
                                                                    8 proper.
                                                                    9                       ON THE SEVENTH CAUSE OF ACTION
                                                               10                     (Violation of Cal. Bus. & Prof. Code §§ 17500, et seq.)
                                                               11 26.
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                                                                             For an order enjoining Defendants from engaging in acts which are unlawful,
                                                               12 fraudulent, unfair, and deceptive within the meaning of California Business &
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                                                               13 Professions Code §§ 17500, et seq.;
                                                               14 27.        For an order that Defendants restore to the general public all funds acquired
                                                               15 through their schemes of economic and business duress which are unlawful, fraudulent,
                                                               16 unfair, and deceptive within the meaning of California Business & Professions Code §§
                                                               17 17500, et seq.;
                                                               18 28.        For attorneys’ fees and costs of suit incurred herein pursuant to California Code of
                                                               19 Civil Procedure §1021.5;
                                                               20 29.        For an award of damages according to proof at the time of trial; and
                                                               21 30.        For such other and further relief at law or in equity, which the Court deems just
                                                               22 and proper.
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                                                                                                             COMPLAINT
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                                                                    1                          ON THE EIGHTH CAUSE OF ACTION
                                                                    2                            (Unfair Competition in Violation of
                                                                    3                California Business & Professions Code §§ 17200, et seq.)
                                                                    4 31.     For an order enjoining Defendants from engaging in acts which are unlawful,
                                                                    5 fraudulent, unfair, and deceptive within the meaning of California Business &
                                                                    6 Professions Code §§ 17200, et seq.;
                                                                    7 32.     For an order that Defendants restore to the general public all funds acquired
                                                                    8 through their infringing activities which are unlawful, fraudulent, unfair, and deceptive
                                                                    9 within the meaning of California Business & Professions Code §§ 17200, et seq.;
                                                               10 33.         Attorneys’ fees and costs of suit incurred herein pursuant to California Code of
                                                               11 Civil Procedure §1021.5;
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                                                               12 34.         For an award of restitution according to proof at the time of trial; and
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                                                               13 35.         Such other and further relief at law or in equity, to which the Court deems just and
                                                               14 proper.
                                                               15 Dated: April 5, 2021                                BERSTEIN LAW, PC
                                                               16
                                                               17                                                     David A. Berstein
                                                               18                                                     J.R. Dimuzio
                                                                                                                      Attorneys for Plaintiff
                                                               19                                                     Petunia Products, Inc.
                                                               20
                                                               21
                                                                                                    DEMAND FOR JURY TRIAL
                                                               22
                                                                              Plaintiff hereby demands a jury trial as provided by Rule 38(a) of the Federal Rules
                                                               23
                                                                        of Civil Procedure.
                                                               24
                                                                        Dated: April 5, 2021                          BERSTEIN LAW, PC
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                                                               26
                                                                                                                      David A. Berstein
                                                               27                                                     J.R. Dimuzio
                                                               28                                                     Attorneys for Plaintiff
                                                                                                                      Petunia Products, Inc.
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                                                                                                              COMPLAINT
